     Case: 1:20-cv-05589 Document #: 13-2 Filed: 09/23/20 Page 1 of 9 PageID #:175




                      IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION




CRYPTON FUTURE MEDIA, INC.,                      CASE NO.: 1:20-CV-05589

      PLAINTIFF,
                                                 JUDGE MARY M. ROWLAND
V.

THE PARTNERSHIPS AND UNINCORPORATED              MAGISTRATE JUDGE JEFFREY CUMMINGS
ASSOCIATIONS IDENTIFIED ON SCHEDULE A,

      DEFENDANTS.                                FILED UNDER SEAL




          EXHIBIT 1 TO THE DECLARATION OF PAUL VARLEY
        Case: 1:20-cv-05589 Document #: 13-2 Filed: 09/23/20 Page 2 of 9 PageID #:176
                                  CRYPTON FUTURE MEDIA, INC.
                                               V.
                             THE PARTNERSHIPS AND UNINCORPORATED
                            ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”
EXHIBIT 1                                                             TRADEMARK REGISTRATIONS
        Case: 1:20-cv-05589 Document #: 13-2 Filed: 09/23/20 Page 3 of 9 PageID #:177
                                  CRYPTON FUTURE MEDIA, INC.
                                               V.
                             THE PARTNERSHIPS AND UNINCORPORATED
                            ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”
EXHIBIT 1                                                             TRADEMARK REGISTRATIONS
        Case: 1:20-cv-05589 Document #: 13-2 Filed: 09/23/20 Page 4 of 9 PageID #:178
                                  CRYPTON FUTURE MEDIA, INC.
                                               V.
                             THE PARTNERSHIPS AND UNINCORPORATED
                            ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”
EXHIBIT 1                                                             TRADEMARK REGISTRATIONS
        Case: 1:20-cv-05589 Document #: 13-2 Filed: 09/23/20 Page 5 of 9 PageID #:179
                                  CRYPTON FUTURE MEDIA, INC.
                                               V.
                             THE PARTNERSHIPS AND UNINCORPORATED
                            ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”
EXHIBIT 1                                                             TRADEMARK REGISTRATIONS
        Case: 1:20-cv-05589 Document #: 13-2 Filed: 09/23/20 Page 6 of 9 PageID #:180
                                  CRYPTON FUTURE MEDIA, INC.
                                               V.
                             THE PARTNERSHIPS AND UNINCORPORATED
                            ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”
EXHIBIT 1                                                             TRADEMARK REGISTRATIONS
        Case: 1:20-cv-05589 Document #: 13-2 Filed: 09/23/20 Page 7 of 9 PageID #:181
                                  CRYPTON FUTURE MEDIA, INC.
                                               V.
                             THE PARTNERSHIPS AND UNINCORPORATED
                            ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”
EXHIBIT 1                                                             TRADEMARK REGISTRATIONS
        Case: 1:20-cv-05589 Document #: 13-2 Filed: 09/23/20 Page 8 of 9 PageID #:182
                                  CRYPTON FUTURE MEDIA, INC.
                                               V.
                             THE PARTNERSHIPS AND UNINCORPORATED
                            ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”
EXHIBIT 1                                                             TRADEMARK REGISTRATIONS
        Case: 1:20-cv-05589 Document #: 13-2 Filed: 09/23/20 Page 9 of 9 PageID #:183
                                  CRYPTON FUTURE MEDIA, INC.
                                               V.
                             THE PARTNERSHIPS AND UNINCORPORATED
                            ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”
EXHIBIT 1                                                             TRADEMARK REGISTRATIONS
